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                                   STATEMENT OF FACTS

        Your affiant, TerryAnn Burns, is a Special Agent assigned to the Joint Terrorism Task
Force (JTTF). In my duties as a Special Agent, I am currently assigned to investigating, managing
and supporting domestic terrorism investigations which often involve violations of Title 18 of the
United States Code. I have assisted in the preparation of search warrant applications, conducted or
participated in physical and electronic surveillance, assisted in the execution of search warrants,
debriefed informants and reviewed other pertinent records. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As a Special
Agent I am authorized by law or by a Government agency to engage in or supervise the prevention,
detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On or about January 15, 2021, the FBI created a U.S. Capitol violence website seeking
the public’s assistance in identifying individuals who unlawfully entered the U.S Capitol
building and committed other crimes on the U.S. Capitol grounds on January 6, 2021.
       On November 10, 2021, the FBI received information from a Confidential Human Source
(CHS #1) indicating that Paul MODRELL was inside the Capitol Building on the afternoon of
January 6, 2021. CHS #1 utilized open-source databases to collect information on the individual
he/she believed to have entered the Capitol and later identified as Paul MODRELL.




      CHS provided picture of MODRELL outside the Capitol #SEDITIONINSIDER1590

       The FBI obtained a copy of MODRELL’s Maryland Driver’s License photograph and
assessed that MODRELL’s appearance is consistent with the individual appearing in photos and
Closed Circuit Television (CCTV) footage from within the Capitol.

        On January 14, 2022, additional CHSs (CHS #2 and CHS #3) provided information to the
FBI indicating that Paul MODRELL of Columbia, Maryland, was inside the Capitol Building
on the afternoon of January 6, 2021. CHS #2 and CHS #3 provided digital media from January 6,
2021 of an individual resembling MODRELL.
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                  CHS provided picture of MODRELL inside the Capitol (Figure 1)




           CHS provided picture of MODRELL inside the Capitol – Crypt Lobby (Figure 2)

        CHS #2 and CHS # 3 provided a link to a Facebook post from November, 2019 which showed
MODRELL wearing the same overcoat as the individual wore on CCTV footage and other open-source
media from January 6, 2021.




                      2019 FaceBook Post             2021 Freedom Plaza
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       On March 22, 2022, still frame photos of MODRELL inside the Capitol (figures 1 and
2) were presented to a co-worker of MODRELL. The co-worker positively identified the
individual in the photos as Paul MODRELL. The co-worker has interacted with MODRELL
consistently for the last three years.

        On March 30, 2022, the FBI reviewed Capitol CCTV footage depicting MODRELL
within the Capitol building for approximately 25 minutes. At approximately 2:26 p.m.
MODRELL entered the U.S. Capitol building through the broken Senate Wing window and
proceeded to the Crypt. MODRELL made his way to the second floor, through the small House
Rotunda, and by 2:36 p.m., entered the Grand Rotunda before taking the Grand Rotunda stairs to
the third floor. On the third floor, MODRELL walked around the East Corridor and Senate
Gallery appearing to film and photograph on his cell phone. At approximately 2:51 p.m.,
MODRELL exited the U.S. Capitol through the Senate Carriage Door.




                                     MODRELL within the Capitol

       On or about April 07, 2022, the FBI obtained records from Meta Platforms Inc.,
regarding the link to the above described Facebook page. The subscriber information for the
above Facebook page includes an email address, pmodrell@hotmail.com, which is an email
address linked to MODRELL via database checks.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Paul Allen MODRELL violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions.

        Your affiant submits there is also probable cause to believe that Paul Allen MODRELL
violated 40 U.S.C. § 5104(e)(2)(D) and (G) which makes it a crime to (D) utter loud, threatening,
or abusive language, or engage in disorderly or disruptive conduct, at any place in the Grounds or
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in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of
a session of Congress or either House of Congress, or the orderly conduct in that building of a
hearing before, or any deliberations of, a committee of Congress or either House of Congress; and
(G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      Special Agent TerryAnn Burns
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 9th day of December 2022.
                                                                             2022.12.09
                                                                             16:45:16 -05'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
